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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CITY OF SYRACUSE, NY; CITY OF SAN
JOSE, CA; CITY OF CHICAGO, IL; CITY OF
COLUMBIA, SC; EVERYTOWN FOR GUN
SAFETY ACTION FUND; and EVERYTOWN                    No. 1:20-cv-06885-GHW
FOR GUN SAFETY SUPPORT FUND,
                                                     REPLY MEMORANDUM IN
                    Petitioners,                   SUPPORT OF ZACHARY FORT;
                                                      FREDERICK BARTON;
      v.                                          BLACKHAWK MANUFACTURING
                                                   GROUP, INC.; AND FIREARMS
BUREAU OF ALCOHOL, TOBACCO,                         POLICY COALITION, INC.’S
FIREARMS AND EXPLOSIVES; REGINA                      MOTION TO INTERVENE
LOMBARDO, in her official capacity as Acting
Deputy Director of Bureau of Alcohol, Tobacco
Firearms and Explosives; UNITED STATES
DEPARTMENT OF JUSTICE; and WILLIAM
BARR, in his official capacity as ATTORNEY
GENERAL, U.S. Department of Justice,

                    Defendants,

      and

ZACHARY FORT; FREDERICK BARTON;
BLACKHAWK MANUFACTURING GROUP,
INC.; and FIREARMS POLICY COALITION,
INC.,

                    Applicants in Intervention.
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       Applicants in Intervention have demonstrated a direct and personalized interest in the

matter before this Court that is not adequately represented by Federal Defendants and more than

justifies Applicants’ intervention in this case.

       Federal Defendants, based on admissions in parallel litigation, do not adequately represent

Applicants’ specific interests in upholding the legally correct interpretation that Non-Firearm

Objects (as defined in Applicants’ Motion) are not “firearms” as defined by the Gun Control Act

of 1968 (“GCA”). Federal Defendants do not purport to produce, sell, buy, or own Non-Firearm

Objects, nor will they be materially or economically harmed should this Court rule in Petitioners’

favor. In contrast, Applicant 80% Arms, which has at least one determination letter akin to the

Polymer 80 Letters challenged by Petitioners, could have its entire, currently lawful business

practice made illegal should Petitioners succeed. See ATF0136–0145 (Letter from Earl Griffith,

Chief, Firearms Technology Branch, to Tilden Smith, 80 Percent Arms (July 15, 2013)).

Remaining Applicants each own Non-Firearm Objects and intend to continue to directly purchase

Non-Firearm Objects in the future—which would be made illegal if Petitioners prevail. Applicant

Firearms Policy Coalition (“FPC”), whose members include other Applicants, also represents

numerous, similarly situated individuals across the United States. Federal Defendants serve in

none of these roles and do not represent Applicants’ reliance or economic interests in the ATF’s

current interpretation. Instead, Federal Defendants must balance competing statutory, regulatory,

and resource concerns and may compromise legally defensible positions that Applicants will

advance unique to their interests in the Non-Firearm Objects market.

       Additionally, Petitioners charge that if this Court were to allow Applicants permissive

intervention to defend their substantial interests, it would expand the scope of or “prejudice”

Petitioners’ Administrative Procedure Act (“APA”) claims. Petitioners do not explain how they




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can be prejudiced by Applicants’ inclusion when Petitioners specifically implicate Applicants in

their arguments. See ECF No. 11 ¶¶ 18 n.23, 107; ECF No. 64 ¶¶ 20(b), 20(e), 21, 22, 24, 26(b),

27.1 Further, Petitioners’ argument misunderstands Applicants’ interests and APA litigation.

Applicants’ goal is not to “obtain a broad ruling that would cast doubt on the regulation of” Non-

Firearms Objects—that is the Petitioners’ stated goal. ECF No. 58, at 15. Applicants’ goal is to

preserve the status quo and uphold the longstanding definition of “firearm” under the GCA.

Applicants have relied on that definition to establish business and personal practices, have lives

and livelihoods at stake, and can offer this Court insight into the law-abiding citizens and

businesses within the Non-Firearm Object industry—interests not represented by Federal

Defendants and wrongly demonized by Petitioners. Applicants’ exclusion would allow Petitioners

to characterize Applicants’ actions and activities without allowing any representation of those

interests. Applicants will not address permissive intervention further and rely on their Motion.

          If Petitioners succeed, the ATF may be required to regulate materials of all kinds,

including Non-Firearm Objects, simply because individuals, through their own knowledge and

skill, can manufacture them into firearms. This Court should grant Applicants intervention to

defend their interest, their industry, and their personal practices from Petitioners’ attack.

                                                ARGUMENT

I.      FEDERAL   DEFENDANTS                       DO       NOT        ADEQUATELY               REPRESENT
        APPLICANTS’ INTERESTS

        Federal Defendants do not represent Applicants’ interest in their continued business and

individual practices, nor Applicants’ reliance-based interest in the ATF’s long-standing



1
 Applicants do not agree to the admission of the documents referenced in and appended to ECF No. 64, nor is this
extra-record evidence relevant to this Court’s APA inquiry. This information, however, highlights that even though
Petitioners have opposed Applicants’ intervention, Petitioners continue to drag Applicants into their arguments.
Petitioners seek to use Applicants to make their case while attempting to exclude Applicants from this litigation.


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determination that Non-Firearm Objects do not constitute “firearms” under the GCA. Petitioners’

assertion that Applicants’ interests are completely represented by Federal Defendants misconstrues

the obligations and representations of Federal Defendants and ignores Petitioners’ specific

implication of Applicants in this matter.

           While Petitioners argue that Federal Defendants adequately represent Applicants’ interests

because “the government just this week moved to dismiss a similar challenge to ATF’s

actions . . . and has given every indication it will defend this case similarly,” Petitioners omit that

Applicants have also moved to intervene in that action. ECF No. 58, at 5–6; Motion to Intervene,

Case No. 3:20-cv-06761-EMC, ECF No. 24 (N.D. Cal. Nov. 24, 2020). Equally relevant, Federal

Defendants filed a Response in that matter that supports Applicants’ intervention as appropriate.

Federal Defendants’ Response to Motion to Intervene (“CA Response”), Case No. 3:20-cv-06761-

EMC, ECF No. 38 (N.D. Cal. Dec. 8, 2020).2 In that Response, Federal Defendants specifically

support intervention as of right for Applicant 80% Arms, noting that because the petitioners there

“criticize ATF’s action in part based on statements of [80% Arms] subsequent to ATF’s

action . . . the APA may constrain ATF’s ability to adequately represent [80% Arms’] interests in

the face of such post-hoc, extra-record materials.” CA Response, at 3. That issue is present here

as well. Petitioners specifically implicate Applicant 80% Arms in their Complaint, referencing

activities subsequent to the ATF’s alleged “action.” Petitioners argue that the “proliferation” of

individually manufactured firearms is, in part, due to Applicant 80% Arms, ECF No. 11 ¶ 18 n.23,

and that Applicant 80% Arms “trumpet[s] ATF’s rule” on its website, id. ¶ 107. Petitioners

continue to implicate Applicant 80% Arms in this litigation even after opposing intervention. On

December 9, 2020, Petitioners filed a Declaration of Aaron Esty in support of their Motion for



2
    Federal Defendants’ Response filed in the Northern District of California is attached hereto as Exhibit 1.


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Summary Judgment. ECF No. 64. There, Petitioners repeatedly cite to Applicant 80% Arms

website in an attempt to support their arguments. Id. ¶¶ 20(b), 20(e), 21, 22, 24, 26(b), 27.

Petitioners cannot be allowed to simultaneously implicate Applicant 80% Arms in this lawsuit and

exclude Applicant from defending its interests.3

         As to Applicants Fort and Barton, Federal Defendants note that their “alleged reliance

interests are substantially different from the interests of the manufacturers of [Non-Firearm

Objects] to whom ATF’s classification letters are issued . . . and this weighs in favor of

intervention.” CA Response, at 4–5.4 Accordingly, Federal Defendants do not adequately

represent Applicant Fort’s and Barton’s reliance interests.

         Finally, while Federal Defendants take no position on Applicant FPC’s intervention,

Applicants note that FPC not only represents the interests of its members—including Applicants

Fort, Barton, and 80% Arms, and those in substantially similar positions—but FPC is also an

individual owner and purchaser of Non-Firearm Objects. Applicant FPC uses those objects to

educate legislatures, politicians, and the public about Non-Firearm Objects, the GCA, and the

proper definition of a “firearm.” ECF No. 46 ¶¶ 9–11. Applicant FPC’s intervention allows this

Court to conveniently and efficiently grant intervention to all of FPC’s members, through FPC’s

representation of their interests.

         As demonstrated by Petitioners’ direct implication of Applicants and Federal Defendants’

position in the parallel litigation, Federal Defendants do not adequately represent Applicants’

substantial interests in the outcome of this litigation.




3
  Of note, Applicant 80% Arms is a party that is required to be joined in this lawsuit pursuant to Federal Rule of Civil
Procedure 19, which joinder Applicant 80% Arms may pursue should this Court deny Applicants’ intervention.
4
  Federal Defendants argue Applicants Fort and Barton should be granted permissive intervention, but Applicants note
that Federal Defendants’ statements also demonstrate they do not adequately represent the interests of Applicants Fort
and Barton. In the alternative, Applicants argue this, at the very least, supports permissive intervention in this matter.


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II.     PETITIONERS MISCONSTRUE THIS CIRCUIT’S                                            STANDARD             IN
        EVALUATING ADEQUATE REPRESENTATION

        Petitioners’ assertion that Applicants are adequately represented, despite the facts

demonstrated supra, misconstrues the liberal Supreme Court standard employed by this Circuit in

allowing for intervention where an applicant’s interest may not be adequately represented.

        “The requirement of [Rule 24(a)] is satisfied if the applicant shows that representation of

his interest ‘may be’ inadequate; and the burden of making that showing should be treated as

minimal.” Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972) (citation

omitted) (emphasis added). In Trbovich, the Supreme Court determined that the Secretary of

Labor might not adequately represent the proposed intervenor’s interests even though the Secretary

had a statutory obligation to represent the individual, because the Secretary had a competing

interest in protecting a broader public interest. Id. at 538–39.

        The Second Circuit has also recognized that intervention is appropriate when a proposed

intervenor’s argument may not be entirely represented by a governmental actor. Cf. U.S. Postal

Serv. v. Brennan, 579 F.2d 188, 191 (2d Cir. 1978) (“An applicant for intervention as of right has

the burden of showing that representation may be inadequate, although the burden ‘should be

treated as minimal.’”) (quoting Trbovich, 404 U.S. at 538 n.10); see N.Y. Pub. Int. Rsch. Grp., Inc.

v. Regents of Univ. of State of N.Y., 516 F.2d 350, 352 (2d Cir. 1975) (recognizing that

governmental defendants' interests “may significantly differ” from those of proposed intervenors.)

        Indeed, despite Petitioners’ contention, the Second Circuit’s application of Trbovich is very

much in line with every other circuit’s precedent on this issue.5



5
  See, e.g., Conservation. Law Found. of New England, Inc. v. Mosbacher, 966 F.2d 39, 44 (1st Cir. 1992) (applying
the liberal Trbovich standard to grant seven commercial fishing groups intervention where the federal defendant’s
“judgments are necessarily constrained by his view of the public welfare,” because “the fisherman may see their own



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         Here, not only do Federal Defendants not have any requirement—statutory or otherwise—

to represent Applicants’ individual and corporate interests in the production, sale, purchase, or

possession of Non-Firearm Objects, but Federal Defendants also do not represent Applicants’

exercise of their legal right to continue to purchase Non-Firearm Objects or to individually

manufacture those objects into personal use firearms. Federal Defendants have not opposed

Applicants’ intervention here, have not filed an answer indicating their merits positions, and have

made no indications that they adequately represent Applicants’ interests.

         This Court should summarily reject Petitioners’ attempt to heighten the Second Circuit’s

standard. Petitioners’ argument is based, in large part, on Butler, Fitzgerald & Potter v. Sequa

Corp., where this Circuit denied the motion of a discharged attorney to intervene into the attorney’s



interest in a different, perhaps more parochial light.”); Commonwealth of Penn. v. President U.S. of Am., 888 F.3d 52,
61 (3d Cir. 2018) (granting intervention because “similar to Trbovich,” the government was tasked “with serving two
related interests that are not identical: accommodating the free exercise rights of religious objectors while protecting
the broader public interest in access to contraceptive methods and services.”) (citing Trbovich, 404 U.S. at 538–39);
JLS, Inc. v. Pub. Serv. Com’n of West Virginia, 321 Fed. App’x 286, 290 (4th Cir. 2009) (“We conclude that Movants
clearly satisfied their ‘minimal’ burden of showing that [the Public Service Commission of West Virginia’s]
representation of their interests ‘may be inadequate’” in regard to “the motivation that Movants have to defeat
[plaintiff].”) (quoting Trbovich, 404 U.S. at 538 n.10); Texas v. U.S., 805 F.3d 653, 663 (5th Cir. 2015) (granting
intervention under the Trbovich standard because “the Government has an institutional interest in shielding its actions
from state intervention through the courts, whereas the [proposed intervenors’] interest is in working and providing
for their families . . . .”); Linton by Arnold v. Comm’r of Health & Enviro., State of Tenn., 973 F.2d 1311, 1319 (6th
Cir. 1992) (noting it is “sufficient that the movants prove that representation may be inadequate,” because the
governmental party “acted as both a regulator and purchaser of movants’ services thereby creating inherent
inconsistencies between movants’ interests and those of the State . . . .”) (citing Trbovich, 404 U.S. at 539); Driftless
Area Land Conservancy v. Huebsch, 969 F.3d 742, 749 (7th Cir. 2020) (employing the lenient Trbovich standard to
grant intervention because proposed intervenors had economic interests not represented by the Wisconsin Public
Service Commission); U.S. v. Union Elec. Co., 64 F.3d 1152, 1170 (8th Cir. 1995) (applying the lenient Trbovich
standard in determining “[t]he interests of the prospective intervenors are narrower and not subsumed by the general
interest of the United States in providing for the clean up of polluted sites,” because “prospective intervenors are
seeking to protect a more ‘parochial’ financial interest not shared by other citizens . . . .”) (citations omitted); Nat’l
Farm Lines v. I.C.C., 564 F.2d 381, 384 (10th Cir. 1977) (“We have here also the familiar situation in which the
governmental agency is seeking to protect not only the interest of the public but also the private interest of the
petitioners in intervention, a task which is on its face impossible. The cases correctly hold that this kind of a conflict
satisfies the minimal burden of showing inadequacy of representation.”); Georgia v. U.S. Army Corps of Eng’rs, 302
F.3d 1242, 1256 (11th Cir. 2002) (employing the minimal Trbovich standard in finding the federal government did
not independently represent proposed intervenors’ interest, because the federal government had “no independent
stake.”) (citation omitted); Hodgson v. United Mine Workers of Am., 473 F.2d 118, 130 (D.C. Cir. 1972) (granting
intervention under the minimal Trbovich standard noting that “[t]he right of intervention conferred by Rule 24
implements the basic jurisprudential assumption that the interest of justice is best served when all parties with a real
stake in a controversy are afforded an opportunity to be heard.”).


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former client’s action. 250 F.3d 171, 177 (2d Cir. 2001). Not only was that case between private

parties, the purported interest was “seemingly . . . not in the subject of the underlying action,” and

the court questioned “whether a discharged attorney's intervention into a former client's action fits

within the language of the Federal Rules.” Id. (citing Fed. R. Civ. P. 24(a)).

       Petitioners’ attempt to invoke the doctrine of parens patriae in this matter is equally

unpersuasive. ECF No. 58, at 5–6. In United States v. City of New York, relied on by Petitioners,

the proposed intervenors, Croton Watershed Clean Water Coalition, et al., were denied

intervention when they sought to “enforce the obligations of New York City under federal law”

because the state of New York was already explicitly granted intervention “as a plaintiff ‘on behalf

of itself and as parens patriae, trustee, guardian and representative on behalf of all residents and

citizens of New York, particularly those individuals who obtain their drinking water from the

Croton System.’” 198 F.3d 360, 363, 367 (2d Cir. 1999). In Hooker Chemicals, another case

Petitioners unpersuasively cite, a New York-based organization was denied intervention, in part,

because it was adequately represented by the state of New York given the state had filed a

complaint against Hooker Chemicals “on behalf of itself as parens patriae on behalf of all residents

and citizens of the State of New York . . . .” 749 F.2d 968, 972, 985 (2d Cir. 1984). Hooker

Chemicals notes the parens patriae test is only applicable when “an intervenor[’s] state is already

a party . . . .” Id. at 984. The parens patriae concept is inapplicable here—Federal Defendants do

not purport or seek to represent Applicants’ interests and Petitioners cite no example of a federal

agency holding an all-encompassing and non-conflicted status in APA litigation.

       This Court should apply this Circuit’s liberal standard in determining Applicants’ interests

are not completely represented by Federal Defendants, including, as demonstrated above,

Applicants’ reliance on the ATF’s interpretation to structure their business and individual




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practices, their intent to continue to produce, sell, purchase, and possess Non-Firearm Objects

without government interference, and their ability to individually manufacture personal use

firearms from the same. Accordingly, Applicants are entitled to intervention as of right.

III.     APPLICANTS HAVE, AT MINIMUM, DEMONSTRATED FINANCIAL
         INTERESTS THAT WILL BE IMPAIRED IF PETITIONERS ARE SUCCESSFUL

         Applicants, their customers, and their members have economically and financially relied

on the ATF’s determination that Non-Firearm Objects are not “firearms” pursuant to the GCA,

and will be directly impacted if Petitioners succeed. Applicants, therefore, at minimum, meet this

Circuit’s requirements for intervention based on financial interest.6

         Second Circuit precedent establishes that intervenors with financial interests in the

challenged regulation have a direct, substantial, and legally protectable interest to intervene.

Bridgeport Guardians v. Delmonte, 602 F.3d 469, 473 (2d Cir. 2010); In re Pandora Media, Inc.,

No. 12-cv-08035-DLC, 2013 WL 6569872, at *8 (S.D.N.Y. Dec. 14, 2013). This includes an

impact on proposed intervenors’ existing business practices or even a potential cost to proposed

intervenors, or their members, due to the outcome of the litigation. See N.Y. Pub. Int. Rsch. Grp.,

Inc., 516 F.2d at 352 (“Specifically, we are satisfied that there is a likelihood that the pharmacists

will make a more vigorous presentation of the economic side of the argument than would the

Regents.”); N.Y. v. Scalia, No. 20-cv-01689-GHW, 2020 WL 3498755 at *2 (S.D.N.Y. June 29,

2020) (determining proposed trade association intervenors had financial interest in the outcome

because some members might face changing standards for liability if the rule were invalidated).




6
  Petitioners’ argument that their lawsuit challenging the ATF’s definition of “firearm” does not implicate Second
Amendment protected rights is circular and borderline absurd. Applicants have Second Amendment protected rights
that, depending on Petitioners’ arguments and the scope of this litigation, may be impacted. Petitioners ask that this
Court require the ATF to reconsider its current interpretation of “firearm” and extend that definition to include Non-
Firearm Objects, which Applicants produce, sell, purchase, and/or own. It is Petitioners’ own attempt to expand the
definition of “firearm” that could directly implicate Applicants’ Second Amendment protected rights.


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       This Circuit, when denying intervention in U.S. Postal Service, noted that “the Postal

Service, a semi-private corporation, had as direct a legal and economic interest in the

constitutionality of its monopoly as did [proposed intervenor].” 579 F.2d at 191 (emphasis added).

In U.S. Postal Service, the court reasoned that economic interests should be considered, following

N.Y. Public Interest Research Group, but determined that the existing party, the Postal Service,

had an incentive to protect those economic interests. Federal Defendants have no such interest

here. Federal Defendants are not “semi-private,” have not relied on the ATF’s actions to make

business decisions, and will not be economically impacted should this Court rule for Petitioners.

       Instead, like proposed intervenors in New York v. Scalia and N.Y. Public

Interest Research Group, if Petitioners are successful, Applicants would suffer an immediate

increase in overhead and purchase costs, significant alterations to their business and personal

practices, and Applicants will all be prevented from—or exposed to criminal liability for—

continuing to engage in their business and personal practices.

       The outcome of the instant litigation poses a direct and substantial threat to the legally

protected behavior of Applicants, their customers, and their members. Applicants have each

transacted in Non-Firearm Objects and intend to continue transacting in Non-Firearm Objects in

the future. Petitioners seek to impose their interpretation of the GCA on ATF’s definition of

“firearm,” and in doing so, extend ATF’s regulatory jurisdiction to Non-Firearm Objects.

Extending ATF’s regulatory burden to Non-Firearm Objects would result in harm to Applicants’

reliance and economic interests—which interests are not represented by Federal Defendants.

                                         CONCLUSION

       For the foregoing reasons, Applicants respectfully request that this Court grant them

intervention as of right pursuant to Rule 24(a)(2), or in the alternative, permissive intervention.




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DATED this 10th day of December, 2020.

                                         Respectfully Submitted,



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                                CERTIFICATE OF SERVICE
       I hereby certify that on December 10, 2020, I electronically filed the foregoing with the
Clerk of the Court using this Court’s CM/ECF system, which will send notification to all counsel
of record, pursuant to Fed. R. Civ. P. 5 and Local Civil Rule 5.2.

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